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                                  UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF KENTUCKY
                                       LOUISVILLE DIVISION
                                   CIVIL CASE NO. 3:08-CV-244-S


CAROLINE J. KOLODZI                                                                              PLAINTIFF



VS.                                    STIPULATION OF DISMISSAL


CHASE MANHATTAN BANK USA, N.A., et al                                                        DEFENDANTS

                                                      ****

                       COMES NOW, Plaintiffs, Caroline Kolodzi (the “Plaintiff”), and Defendants,

Chase Manhattan Bank USA, N.A., (“Chase”), and Mann Bracken, LLC (“Mann”) by and

through their respective counsel below, 1 and pursuant to Fed.R.Civ.Pro. 41, the parties stipulate

that the Complaint and First Amended Complaint of Caroline J. Kolodzi against Chase, Mann

and Palisades Collection, LLC filed in this action are dismissed with prejudice, each party to

bear its own attorney’s fees, costs and expenses.

    October 24, 2008



SEEN AND AGREED TO BY:



/s/ Michael Kolodzi (by permission)___                   /s/ Anthony Raluy________________
Michael Kolodzi                                          Anthony Raluy
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                                                         BANK USA, N.A.

1
 Defendant Palisades Collection LLC has not filed an Answer or other responsive pleading, nor has an attorney
entered an appearance on behalf of Palisades Collection LLC. Plaintiff hereby dismisses Palisades pursuant to
Fed.R.Civ.Pro. 41.
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/s/ Robert Glenn Knirsch (by permission)_
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